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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-555
BENJAMIN MARTIN, : VIOLATIONS:
: 18 U.S.C. § 231(a)(3)
Defendant. : (Civil Disorder)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capito] Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia, BENJAMIN MARTIN
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer lawfully engaged in the lawful performance of his/her official duties incident
to and during the commission of a civil disorder, and the civil disorder obstructed, delayed, and
adversely affected the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
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COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere, BENJAMIN
MARTIN attempted to, and did, corruptly obstruct, influence, and impede an official proceeding,
that is, a proceeding before Congress, specifically, Congress’s certification of the Electoral College
vote as set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§
15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, BENJAMIN MARTIN did
knowingly enter and remain ina restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President and Vice President-elect were temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, BENJAMIN MARTIN did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))
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COUNT FIVE
On or about January 6, 2021, within the District of Columbia, BENJAMIN MARTIN
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, BENJAMIN MARTIN
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.
(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,

United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
